                                                                              Case:14-21694-JGR
                                                                     B7 (Official Form 7) (04/13)                Doc#:9 Filed:09/04/14                    Entered:09/04/14 16:27:08 Page1 of 28
                                                                                                                              United States Bankruptcy Court
                                                                                                                                    District of Colorado

                                                                     IN RE:                                                                                                       Case No. 14-21694 SBB
                                                                     Martinez, Consuelo                                                                                           Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  1,637.42 YTD - Employment
                                                                                           Post Office
                                                                                  6,746.00 2012 - Employment
                                                                                           Iron Mountain Information Mgmt
                                                                                  4,213.58 2013 - Employment
                                                                                           U.S. Post Office
                                                                                  1,903.87 YTD - Employment
                                                                                           Adams 12 Five Star Schools

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  9,392.00 2013 - Unemployment
                                                                                  6,718.42 2013 - 401K Disbursement
                                                                              Case:14-21694-JGR Doc#:9 Filed:09/04/14                                     Entered:09/04/14 16:27:08 Page2 of 28

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
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                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                  NATURE OF PROCEEDING                                AND LOCATION                               DISPOSITION
                                                                     In the Matter of the Motion of   Rule 120                                            District Court, Adams County               Judgment for Plaintiff
                                                                     Realview Residential Holdings                                                        1100 Judicial Center Drive                 Sale Authorized
                                                                     LLC for an Order Authorizing the                                                     Brighton, CO 80601                         Stayed by bankruptcy
                                                                     Public Trustee to Sell Certain
                                                                     Property Under a Power of Sale
                                                                     Contained Witihin a Deed of
                                                                     Trust
                                                                     2014CV31178
                                                                     Agency of Credit Control Inc.              Collection Action                         County Court, Adams County                 Judgment for Plaintiff
                                                                     v                                                                                    1100 Judicial Center Drive
                                                                     Consuelo Martinez                                                                    Brighton, CO 80601
                                                                     2014C31051
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE
                                                                     BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                     OF PROPERTY
                                                                     Social Security Administration                                   6/6/2014                            Federal Income Tax Return
                                                                     Western Program Service Center                                                                       $144.26
                                                                     PO Box 4055
                                                                     Richmond, CA 94800-4941

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)
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                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
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                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.
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                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
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                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.



                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: September 4, 2014                          Signature /s/ Consuelo Martinez
                                                                                                                      of Debtor                                                                            Consuelo Martinez

                                                                     Date:                                            Signature
                                                                                                                      of Joint Debtor
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
                                                                            Case:14-21694-JGR
                                                                     B6 Summary                              Doc#:9
                                                                                (Official Form 6 - Summary) (12/13)                   Filed:09/04/14            Entered:09/04/14 16:27:08 Page5 of 28
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                        District of Colorado

                                                                     IN RE:                                                                                                                Case No. 14-21694 SBB
                                                                     Martinez, Consuelo                                                                                                    Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED             NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                                Yes                         1 $         140,000.00



                                                                      B - Personal Property                                            Yes                         3 $            3,242.57



                                                                      C - Property Claimed as Exempt                                   Yes                         1
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                                                                      D - Creditors Holding Secured Claims                             Yes                         2                           $        140,790.07


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                       Yes                         3                           $           1,011.93
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                       Yes                         4                           $          20,231.46
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                       Yes                         1
                                                                          Leases


                                                                      H - Codebtors                                                    Yes                         1


                                                                      I - Current Income of Individual
                                                                                                                                       Yes                         2                                                     $           1,200.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                       Yes                         3                                                     $           2,512.08
                                                                          Debtor(s)


                                                                                                                                       TOTAL                     21 $          143,242.57 $             162,033.46
                                                                            Case:14-21694-JGR
                                                                     B 6 Summary                              Doc#:9
                                                                                 (Official Form 6 - Summary) (12/13)      Filed:09/04/14    Entered:09/04/14 16:27:08 Page6 of 28
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                       Case No. 14-21694 SBB
                                                                     Martinez, Consuelo                                                                           Chapter 13
                                                                                                              Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $        560.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $        560.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $      1,200.00

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $      2,512.08

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $      1,301.64


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $     1,286.07

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      1,011.93

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                      4. Total from Schedule F                                                                                             $    20,231.46

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    21,517.53
                                                                             Case:14-21694-JGR
                                                                     B6A (Official Form 6A) (12/07)                  Doc#:9 Filed:09/04/14                        Entered:09/04/14 16:27:08 Page7 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                Case No. 14-21694 SBB
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     69 W. 81st Place, Denver, CO 80221                                                        Fee Simple                                                    140,000.00               136,504.00
                                                                     Residence
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                                                                                                                                                                                      TOTAL                                  140,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                             Case:14-21694-JGR
                                                                     B6B (Official Form 6B) (12/07)                   Doc#:9 Filed:09/04/14                      Entered:09/04/14 16:27:08 Page8 of 28
                                                                     IN RE Martinez, Consuelo                                                                                               Case No. 14-21694 SBB
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            Checking Account                                                                                                                 7.51
                                                                           accounts, certificates of deposit or            Chase
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                                                                           Savings Account                                                                                                                 25.06
                                                                           homestead associations, or credit               Chase
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Beds (3)                                                                                                                        15.00
                                                                           include audio, video, and computer              Chair                                                                                                                            5.00
                                                                           equipment.
                                                                                                                           Chairs                                                                                                                          10.00
                                                                                                                           Chests of Drawers ((2)                                                                                                           8.00
                                                                                                                           Compact Discs                                                                                                                   10.00
                                                                                                                           Computer                                                                                                                        15.00
                                                                                                                           Dishes, Pots and Pans                                                                                                           10.00
                                                                                                                           Dressers (2)                                                                                                                     8.00
                                                                                                                           Dryer                                                                                                                            7.00
                                                                                                                           Lamps (3)                                                                                                                        6.00
                                                                                                                           Loveseat                                                                                                                         7.00
                                                                                                                           Microwave                                                                                                                        5.00
                                                                                                                           Night Stands                                                                                                                     5.00
                                                                                                                           Refrigerator                                                                                                                    10.00
                                                                                                                           Sofa                                                                                                                            10.00
                                                                                                                           Stereo                                                                                                                           4.00
                                                                                                                           Stove                                                                                                                           10.00
                                                                                                                           Table                                                                                                                           10.00
                                                                                                                           Television                                                                                                                      10.00
                                                                                                                           Vacuum                                                                                                                           5.00
                                                                                                                           Washer                                                                                                                          10.00
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                             Case:14-21694-JGR
                                                                     B6B (Official Form 6B) (12/07) - Cont.          Doc#:9 Filed:09/04/14            Entered:09/04/14 16:27:08 Page9 of 28
                                                                     IN RE Martinez, Consuelo                                                                                    Case No. 14-21694 SBB
                                                                                                                             Debtor(s)                                                                            (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                                                                          CURRENT VALUE OF
                                                                                                                      N                                                                                                  DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                   PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                     DEDUCTING ANY
                                                                                                                      E                                                                                                   SECURED CLAIM OR
                                                                                                                                                                                                                              EXEMPTION




                                                                       6. Wearing apparel.                                Clothing                                                                                                     20.00
                                                                       7. Furs and jewelry.                               Watch,Costume Jewelry                                                                                        10.00
                                                                       8. Firearms and sports, photographic,         X
                                                                          and other hobby equipment.
                                                                       9. Interest in insurance policies. Name       X
                                                                          insurance company of each policy and
                                                                          itemize surrender or refund value of
                                                                          each.
                                                                      10. Annuities. Itemize and name each           X
                                                                          issue.
                                                                      11. Interests in an education IRA as           X
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                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or         X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated        X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated               Injured at work, possible claim against the US Post Office,                                            unknown
                                                                          claims of every nature, including tax           debtor was denied claim on administrative process. Debtor is
                                                                          refunds, counterclaims of the debtor,           unsure how much further she wishes to pursue this matter
                                                                          and rights to setoff claims. Give               through other means.
                                                                          estimated value of each.
                                                                                                                          Possible amounts owed due to class action claim as class                                               unknown
                                                                                                                          member in Rodrick kemp, et al. v. Aronowitz 7 Mecklenburg,
                                                                                                                          LLP, et al.
                                                                            Case:14-21694-JGR
                                                                     B6B (Official Form 6B) (12/07) - Cont.          Doc#:9 Filed:09/04/14             Entered:09/04/14 16:27:08 Page10 of 28
                                                                     IN RE Martinez, Consuelo                                                                                      Case No. 14-21694 SBB
                                                                                                                             Debtor(s)                                                                                   (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                        HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                 CURRENT VALUE OF
                                                                                                                      N                                                                                                         DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                          PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                         DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                            DEDUCTING ANY
                                                                                                                      E                                                                                                          SECURED CLAIM OR
                                                                                                                                                                                                                                     EXEMPTION




                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
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                                                                      25. Automobiles, trucks, trailers, and              2008 Scion                                                                                                      3,000.00
                                                                          other vehicles and accessories.                 53,426. mileage
                                                                      26. Boats, motors, and accessories.             X
                                                                      27. Aircraft and accessories.                   X
                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      30. Inventory.                                  X
                                                                      31. Animals.                                    X
                                                                      32. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      33. Farming equipment and implements.           X
                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                      35. Other personal property of any kind         X
                                                                          not already listed. Itemize.




                                                                                                                                                                                                  TOTAL                                   3,242.57
                                                                                                                                                                             (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                            Report total also on Summary of Schedules.)
                                                                           Case:14-21694-JGR
                                                                     B6C (Official Form 6C) (04/13)                Doc#:9 Filed:09/04/14                    Entered:09/04/14 16:27:08 Page11 of 28
                                                                     IN RE Martinez, Consuelo                                                                                         Case No. 14-21694 SBB
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     69 W. 81st Place, Denver, CO 80221                           CRS §§38-41-201(a), 201.5                                         60,000.00              140,000.00
                                                                     Residence
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Checking Account                                             CRS §§5-5-105, 13-54-104                                                 5.63                     7.51
                                                                     Chase
                                                                     Savings Account                                              CRS §§5-5-105, 13-54-104                                                18.79                    25.06
                                                                     Chase
                                                                     Beds (3)                                                     CRS §13-54-102(1)(e)                                                    15.00                    15.00
                                                                     Chair                                                        CRS §13-54-102(1)(e)                                                     5.00                     5.00
                                                                     Chairs                                                       CRS §13-54-102(1)(e)                                                    10.00                    10.00
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                                                                     Chests of Drawers ((2)                                       CRS §13-54-102(1)(e)                                                     8.00                     8.00
                                                                     Compact Discs                                                CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Computer                                                     CRS §13-54-102(1)(e)                                                    15.00                    15.00
                                                                     Dishes, Pots and Pans                                        CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Dressers (2)                                                 CRS §13-54-102(1)(e)                                                     8.00                     8.00
                                                                     Dryer                                                        CRS §13-54-102(1)(e)                                                     7.00                     7.00
                                                                     Lamps (3)                                                    CRS §13-54-102(1)(e)                                                     6.00                     6.00
                                                                     Loveseat                                                     CRS §13-54-102(1)(e)                                                     7.00                     7.00
                                                                     Microwave                                                    CRS §13-54-102(1)(e)                                                     5.00                     5.00
                                                                     Night Stands                                                 CRS §13-54-102(1)(e)                                                     5.00                     5.00
                                                                     Refrigerator                                                 CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Sofa                                                         CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Stereo                                                       CRS §13-54-102(1)(e)                                                     4.00                     4.00
                                                                     Stove                                                        CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Table                                                        CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Television                                                   CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Vacuum                                                       CRS §13-54-102(1)(e)                                                     5.00                     5.00
                                                                     Washer                                                       CRS §13-54-102(1)(e)                                                    10.00                    10.00
                                                                     Clothing                                                     CRS §13-54-102(1)(a)                                                    20.00                    20.00
                                                                     Watch,Costume Jewelry                                        CRS §13-54-102(1)(b)                                                    10.00                    10.00
                                                                     2008 Scion                                                   CRS §13-54-102(1)(j)(I)                                             3,000.00                 3,000.00
                                                                     53,426. mileage




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                           Case:14-21694-JGR
                                                                     B6D (Official Form 6D) (12/07)                 Doc#:9 Filed:09/04/14                                              Entered:09/04/14 16:27:08 Page12 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                   Case No. 14-21694 SBB
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO.                                                                                   August 24, 1995 Loan secured by first                                                            83,954.00
                                                                     Citimortgage Inc                                                                              mortgage on residence
                                                                     1000 Technology Drive
                                                                     O;Fallon, MO 63368

                                                                                                                                                                   VALUE $ 140,000.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     Citimortgage Inc                                                                              Citimortgage Inc
                                                                     PO Box 6243
                                                                     Sioux Falls, SD 57117-6243

                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.                                                                                   2006                                                                                             24,299.00
                                                                     County Of Adams                                                                               3rd Mortgage on Residence
                                                                     The Board Of County Commissioners                                                             Due on Sale
                                                                     450 S. 4th Avenue
                                                                     Brighton, CO 80601
                                                                                                                                                                   VALUE $ 140,000.00

                                                                     ACCOUNT NO.                                                                                   February 20, 11998 Loan secured by                                                               28,251.00
                                                                     Realview Residential Holdings LLC                                                             second mortgage on residence
                                                                     PO Box 371050
                                                                     Denver, CO 80237

                                                                                                                                                                   VALUE $ 140,000.00
                                                                                                                                                                                                                       Subtotal
                                                                            1 continuation sheets attached                                                                                                 (Total of this page) $ 136,504.00 $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                           Case:14-21694-JGR
                                                                     B6D (Official Form 6D) (12/07) - Cont.       Doc#:9 Filed:09/04/14                                              Entered:09/04/14 16:27:08 Page13 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                 Case No. 14-21694 SBB
                                                                                                                               Debtor(s)                                                                                                                                     (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Castle Law Group                                                                            Realview Residential Holdings LLC
                                                                     999 18th St. Suite 2201
                                                                     Denver, CO 80202

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 7636                                                                            May 31, 2008 Loan for purchase of                                                                 4,286.07                 1,286.07
                                                                     Toyota Financial Services                                                                   vehicle, secured by 2008 Scion
                                                                     PO Box 8026
                                                                     Cedar Rapids, IA 52409-8026
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                                                                                                                                                                 VALUE $ 3,000.00

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Toyota Motor Corporation                                                                    Toyota Financial Services
                                                                     7670 S. Chester St #200
                                                                     Englewood, CO 80112

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Toyota Motor Credit                                                                         Toyota Financial Services
                                                                     5005 N River Blvd NE
                                                                     Cedar Rapids, IA 52411-6634

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $                                    4,286.07 $               1,286.07
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $ 140,790.07 $                                                1,286.07
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                            Case:14-21694-JGR
                                                                     B6E (Official Form 6E) (04/13)                  Doc#:9 Filed:09/04/14                         Entered:09/04/14 16:27:08 Page14 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                  Case No. 14-21694 SBB
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            2 continuation sheets attached
                                                                            Case:14-21694-JGR
                                                                     B6E (Official Form 6E) (04/13) - Cont.        Doc#:9 Filed:09/04/14                                                     Entered:09/04/14 16:27:08 Page15 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                                                                  Case No. 14-21694 SBB
                                                                                                                                                    Debtor(s)                                                                                                                         (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                                                                           Wages, salaries, and commissions
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                                   AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                                AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                     AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                        ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                     OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                         TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                     CLAIM
                                                                                                                                                                                                                                                                                PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                    IF ANY




                                                                     ACCOUNT NO.                                                                           2011 Income Tax
                                                                     Internal Revenue Service*
                                                                     Centralized Insolvency
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346
                                                                                                                                                                                                                                                                   451.93           451.93
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page)                                      $       451.93 $         451.93 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                      $                $
                                                                            Case:14-21694-JGR
                                                                     B6E (Official Form 6E) (04/13) - Cont.        Doc#:9 Filed:09/04/14                                                     Entered:09/04/14 16:27:08 Page16 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                                                                  Case No. 14-21694 SBB
                                                                                                                                                    Debtor(s)                                                                                                                         (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                                   AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                                AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                     AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                        ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                     OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                         TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                     CLAIM
                                                                                                                                                                                                                                                                                PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                    IF ANY




                                                                     ACCOUNT NO. 2977                                                                      2012
                                                                     Colorado Dept. Of Revenue                                                             Income Tax
                                                                     ATTN: Bankruptcy Unit
                                                                     1375 Sherman St., Room 504
                                                                     Denver, CO 80261
                                                                                                                                                                                                                                                                    37.00            37.00
                                                                                                                                                           2013
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                                                                     ACCOUNT NO. 2977
                                                                     Colorado Dept. Of Revenue                                                             Income Tax
                                                                     ATTN: Bankruptcy Unit
                                                                     1375 Sherman St., Room 504
                                                                     Denver, CO 80261
                                                                                                                                                                                                                                                                   523.00           523.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page)                                      $       560.00 $         560.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                              1,011.93
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                      $    1,011.93 $
                                                                            Case:14-21694-JGR
                                                                     B6F (Official Form 6F) (12/07)                  Doc#:9 Filed:09/04/14                                             Entered:09/04/14 16:27:08 Page17 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                     Case No. 14-21694 SBB
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 4S0A                                                                                     Judgment in County Court
                                                                     Agency Of Credit Control                                                                             2014C31051
                                                                     2014 S. Pontiac Way
                                                                     Denver, CO 80224

                                                                                                                                                                                                                                                                                   4,371.23
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     Jan O Westman, Esquire                                                                               Agency Of Credit Control
                                                                     2870 N Speer Blvd #105
                                                                     Denver, CO 80211



                                                                     ACCOUNT NO. 0414                                                                                     Collection Account
                                                                     American Medical Collection Agency                                                                   Original Creditor: Quest
                                                                     4 Westchester Plaza Suite 110                                                                        Diagnostics
                                                                     Elmsford, NY 10523

                                                                                                                                                                                                                                                                                     238.05
                                                                     ACCOUNT NO. 3210                                                                                     2012
                                                                     Anesthesia Associates Of The Rockies                                                                 Services
                                                                     3333 S. Wadsworth Blvd Ste 100D
                                                                     Lakewood, CO 80227

                                                                                                                                                                                                                                                                                   1,050.00
                                                                                                                                                                                                                                           Subtotal
                                                                            3 continuation sheets attached                                                                                                                     (Total of this page) $                              5,659.28
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                            Case:14-21694-JGR
                                                                     B6F (Official Form 6F) (12/07) - Cont.       Doc#:9 Filed:09/04/14                                                Entered:09/04/14 16:27:08 Page18 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                    Case No. 14-21694 SBB
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Agency Of Credit Control                                                                           Anesthesia Associates Of The Rockies
                                                                     2014 S. Pontiac Way
                                                                     Denver, CO 80224



                                                                     ACCOUNT NO. 6849                                                                                   2012
                                                                     Checks Unlimited                                                                                   Goods
                                                                     PO Box 17400
                                                                     Colorado Springs, CO 80935
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                                                                                                                                                                                                                                                                                      2.57
                                                                     ACCOUNT NO. 3324                                                                                   2013
                                                                     Clinica Family Health Services                                                                     Services
                                                                     1345 Plaza Court North Ste 1A
                                                                     Lafayette, CO 80026-2832

                                                                                                                                                                                                                                                                                     14.00
                                                                     ACCOUNT NO. 2977                                                                                   2009
                                                                     Colorado Dept. Of Revenue                                                                          Income Tax
                                                                     ATTN: Bankruptcy Unit
                                                                     1375 Sherman St., Room 504
                                                                     Denver, CO 80261
                                                                                                                                                                                                                                                                                  1,074.99
                                                                     ACCOUNT NO. 0483                                                                                   2013 - 2014
                                                                     Concentra Urgent Care                                                                              Services
                                                                     1730 Blake Street Ste 100
                                                                     Denver, CO 80202

                                                                                                                                                                                                                                                                                  1,095.00
                                                                     ACCOUNT NO. xxxx                                                                                   Collection Account
                                                                     Credit Management LP                                                                               Original Creditor: CenturyLink
                                                                     4200 International Parkway
                                                                     Carrollton, TX 75007

                                                                                                                                                                                                                                                                                    165.00
                                                                     ACCOUNT NO. xxxx                                                                                   Collection Account
                                                                     Credit Protection Association                                                                      Original Creditor: Comcast Communications
                                                                     13355 Noel Road Ste 2100
                                                                     Dallas, TX 75240

                                                                                                                                                                                                                                                                                    147.00
                                                                     Sheet no.       1 of        3 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              2,498.56
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                            Case:14-21694-JGR
                                                                     B6F (Official Form 6F) (12/07) - Cont.       Doc#:9 Filed:09/04/14                                               Entered:09/04/14 16:27:08 Page19 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                    Case No. 14-21694 SBB
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        2009 Income Tax
                                                                     Internal Revenue Service *
                                                                     Centralized Insolvency
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346
                                                                                                                                                                                                                                                                                  1,165.72
                                                                     ACCOUNT NO.                                                                                        2008 Income Tax
                                                                     Internal Revenue Service *
                                                                     Centralized Insolvency
                                                                     PO Box 7346
                                                                     Philadelphia, PA 19101-7346
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                                                                                                                                                                                                                                                                                    370.79
                                                                     ACCOUNT NO. inez                                                                                   2012
                                                                     KC's Services Inc                                                                                  Services
                                                                     PO Box 280217
                                                                     Lakewood, CO 80228

                                                                                                                                                                                                                                                                                     40.00
                                                                     ACCOUNT NO. 2277                                                                                   2010
                                                                     King Soopers - Kroger Company                                                                      Goods
                                                                     PO Box 30650
                                                                     Salt Lake City, UT 84130-0650

                                                                                                                                                                                                                                                                                    300.00
                                                                     ACCOUNT NO. 7084                                                                                   Collection Account
                                                                     Liberty Acquisitions Servicing LLC                                                                 Original Creditor: Wells Fargo
                                                                     7100 W. 44th Avenue Ste 108
                                                                     Wheat Ridge, CO 80033

                                                                                                                                                                                                                                                                                    135.73
                                                                     ACCOUNT NO.
                                                                     O'Malley Law Office PC
                                                                     7340 E. Caley Avenue Ste 360
                                                                     Centennial, CO 80111-6709

                                                                                                                                                                                                                                                                                 unknown
                                                                     ACCOUNT NO. 3333                                                                                   2014
                                                                     Physiotherapy Corporation PP                                                                       Services
                                                                     PO Box 824181
                                                                     Philadelphia, PA 19182-4181

                                                                                                                                                                                                                                                                                    248.00
                                                                     Sheet no.       2 of        3 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              2,260.24
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                            Case:14-21694-JGR
                                                                     B6F (Official Form 6F) (12/07) - Cont.       Doc#:9 Filed:09/04/14                                               Entered:09/04/14 16:27:08 Page20 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                                    Case No. 14-21694 SBB
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 8167                                                                                   2010
                                                                     Premier Members Federal Credit Union
                                                                     5495 Arapahoe Avenue
                                                                     Boulder, CO 80303

                                                                                                                                                                                                                                                                                  1,932.08
                                                                     ACCOUNT NO. 8800                                                                                   2012
                                                                     Rocky Mountain Endoscopy Centers                                                                   Services
                                                                     3333 S. Wadsworth Blvd 100D
                                                                     Lakewood, CO 80227
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                                                                                                                                                                                                                                                                                    800.00
                                                                     ACCOUNT NO. 3210                                                                                   2013
                                                                     Rocky Mountain Gastroenterology                                                                    Services
                                                                     3333 S Wadsworth Blvd Ste 100D
                                                                     Lakewood, CO 80227

                                                                                                                                                                                                                                                                                    587.00
                                                                     ACCOUNT NO. 2977                                                                                   2009
                                                                     Social Security Administration                                                                     Overpayment of benefits
                                                                     Western Program Service Center
                                                                     PO Box 4055
                                                                     Richmond, CA 94802-1791
                                                                                                                                                                                                                                                                                  6,391.47
                                                                     ACCOUNT NO. 9706                                                                                   2010
                                                                     Walmart - FMS                                                                                      Goods
                                                                     PO B0x 707600
                                                                     Tulsa, OK 74170

                                                                                                                                                                                                                                                                                    102.83
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       3 of        3 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              9,813.38
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $                             20,231.46
                                                                           Case:14-21694-JGR
                                                                     B6G (Official Form 6G) (12/07)                  Doc#:9 Filed:09/04/14                        Entered:09/04/14 16:27:08 Page21 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                  Case No. 14-21694 SBB
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                     Steve Martinez                                                                           Month to month oral residential lease agreement
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                                                                           Case:14-21694-JGR
                                                                     B6H (Official Form 6H) (12/07)                  Doc#:9 Filed:09/04/14                         Entered:09/04/14 16:27:08 Page22 of 28
                                                                     IN RE Martinez, Consuelo                                                                                                   Case No. 14-21694 SBB
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                 Case:14-21694-JGR Doc#:9 Filed:09/04/14                                         Entered:09/04/14 16:27:08 Page23 of 28
                                                                                   Martinez, Consuelo                                                                                                    14-21694 SBB
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1          Consuelo
                                                                                        ___ ____ _____Martinez
                                                                                                      _______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            ___ ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for the: District of Colorado

                                                                      Case num ber        14-21694
                                                                                          ___          SBB
                                                                                              ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:           Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                               Debtor 1                                         Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional          Employment status                    Employed                                           Employed
                                                                            employers.                                                                 Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                  Occupation                     __________________________________                __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                  Employer’s name                __________________________________                __________________________________


                                                                                                                  Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y              State   ZIP Code               City                    State ZIP Code

                                                                                                                  How long employed there?             _______                                      _______

                                                                      Part 2:           Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                              For Debtor 1          For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                   0.00
                                                                                                                                                                             $___________              $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.     + $___________
                                                                                                                                                                                   0.00            +   $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.           0.00
                                                                                                                                                                             $__________               $____________



                                                                     Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                Case:14-21694-JGR Doc#:9 Filed:09/04/14                                                                Entered:09/04/14 16:27:08 Page24 of 28
                                                                     Debtor 1             Consuelo
                                                                                         ___            Martinez
                                                                                             _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                         Case numb er          14-21694 SBB
                                                                                                                                                                                                                  (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.             0.00
                                                                                                                                                                                                   $___________               $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                            5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                           0.00          +   $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                                                                                                  $____________              $_____________
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                                                                      8.   List all other income regularly received:
                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                             8h. Other monthly income. Specify: ________________
                                                                                                                 Rental Income _______________                                             8h.   + $____________
                                                                                                                                                                                                        1,200.00           + $_____________
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          1,200.00
                                                                                                                                                                                                  $____________              $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                      1,200.00
                                                                                                                                                                                                  $___________       +        $_____________ = $_____________
                                                                                                                                                                                                                                                    1,200.00

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                             0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        1,200.00
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                                                None
                                                                                 Yes. Explain:


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                   Case:14-21694-JGR Doc#:9 Filed:09/04/14                                        Entered:09/04/14 16:27:08 Page25 of 28
                                                                                     Martinez, Consuelo                                                                                                  14-21694 SBB
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           Consuelo
                                                                                            ___ _______ ____Martinez
                                                                                                            _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                  Middle Name               Last Name                       Check if this is:
                                                                          Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                          (Spouse, if filing) First Name                 Middle Name               Last Name
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: District of Colorado                                               expenses as of the following date:
                                                                                                                                                                                       ________________
                                                                          Case num ber        14-21694
                                                                                             ___ ____ _____SBB
                                                                                                            ______ _____ _____ ______ _______ __                                       MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                       maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                     12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                  Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                       age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                            No
                                                                           Do not state the dependents’                                                         _________________________                ________
                                                                           names.                                                                                                                                           Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                     3.    Do your expenses include
                                                                                                                           No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                    Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                       4.
                                                                                                                                                                                                                  773.09
                                                                                                                                                                                                           $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                              4a.             0.00
                                                                                                                                                                                                           $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                   4b.             0.00
                                                                                                                                                                                                           $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                  4c.            50.00
                                                                                                                                                                                                           $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                    4d.             0.00
                                                                                                                                                                                                           $_____________________

                                                                          Official Form 6J                                                 Schedule J: Your Expenses                                                           page 1
                                                                                   Case:14-21694-JGR Doc#:9 Filed:09/04/14                                    Entered:09/04/14 16:27:08 Page26 of 28

                                                                      Debtor 1            Consuelo
                                                                                          ___           Martinez
                                                                                              _______ ____ _____ ______ _____ ____ _______ ____ _____ _____          Case numb er          14-21694 SBB
                                                                                                                                                                                    (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                     Your expenses

                                                                                                                                                                                                    $_____________________
                                                                                                                                                                                                           202.73
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                         6a.            115.00
                                                                                                                                                                                                    $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                       6b.            75.00
                                                                                                                                                                                                    $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            180.00
                                                                                                                                                                                                    $_____________________

                                                                             6d.                     Trash
                                                                                     Other. Specify: _______________________________________________                                        6d.            15.00
                                                                                                                                                                                                    $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                  7.             389.00
                                                                                                                                                                                                    $_____________________

                                                                      8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                    $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                             9.             20.00
                                                                                                                                                                                                    $_____________________
                                                                     10.    Personal care products and services                                                                             10.            50.00
                                                                                                                                                                                                    $_____________________
                                                                     11.    Medical and dental expenses                                                                                     11.            30.00
                                                                                                                                                                                                    $_____________________

                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                           100.00
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                                                                                                                                                                                                    $_____________________
                                                                            Do not include car payments.                                                                                    12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.            30.00
                                                                                                                                                                                                    $_____________________
                                                                     14.     Charitable contributions and religious donations                                                               14.            10.00
                                                                                                                                                                                                    $_____________________

                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15b .   Health insurance                                                                                       15b .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15c.    Vehicle insurance                                                                                      15c.           75.00
                                                                                                                                                                                                    $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                    $_____________________
                                                                             Specify: ________________________________________________________                                              16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                             17a.           367.26
                                                                                                                                                                                                    $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17c.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                    $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                    $_____________________
                                                                            Specify:_______________________________________________________                                                  19.

                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                    $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20e .   Homeowner’s association or condominium dues                                                           20e .    $_____________________
                                                                                                                                                                                                            0.00


                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                     0.00
                                                                                   Case:14-21694-JGR Doc#:9 Filed:09/04/14                                  Entered:09/04/14 16:27:08 Page27 of 28

                                                                       Debtor 1          Consuelo
                                                                                        ___            Martinez
                                                                                            _______ ____ _____ ______ _____ ____ _______ ____ _____ _____            Case numb er          14-21694 SBB
                                                                                                                                                                                    (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                      21.     Other. Specify: ________________________________
                                                                                              Household Expenses              _________________                                            21 .           30.00
                                                                                                                                                                                                  +$_____________________

                                                                      22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         2,512.08
                                                                                                                                                                                                    $_____________________
                                                                             The result is your monthly expenses.                                                                          22 .




                                                                      23.   Calculate your monthly net income.
                                                                                                                                                                                                          1,200.00
                                                                                                                                                                                                     $_____________________
                                                                            23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                            23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                          2,512.08

                                                                            23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                          -1,312.08
                                                                                                                                                                                                     $_____________________
                                                                                   The result is your monthly net income.                                                                 23c.




                                                                      24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                             For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                             mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                                No.
                                                                                Yes.    None




                                                                            Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
                                                                            Case:14-21694-JGR
                                                                     B6 Declaration                             Doc#:9
                                                                                    (Official Form 6 - Declaration) (12/07)        Filed:09/04/14             Entered:09/04/14 16:27:08 Page28 of 28
                                                                     IN RE Martinez, Consuelo                                                                                            Case No. 14-21694 SBB
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      23 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.

                                                                     Date: September 4, 2014                              Signature: /s/ Consuelo Martinez
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Consuelo Martinez

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
